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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

                                                   )
 UNITED STATES SECURITIES                          )
 AND EXCHANGE COMMISSION,                          )
                                                   )
                         Plaintiff,                )      Civil Action No. 18-cv-5587
                                                   )
 v.                                                )      Hon. John Z. Lee
                                                   )
 EQUITYBUILD, INC., EQUITYBUILD                    )      Magistrate Judge Young B. Kim
 FINANCE, LLC, JEROME H. COHEN,                    )
 and SHAUN D. COHEN,                               )
                                                   )
                         Defendants.               )
                                                   )

                           RECEIVER’S FIFTH STATUS REPORT
                                  (Third Quarter 2019)

         Kevin B. Duff, as the receiver (“Receiver”) for the Estate of Defendants EquityBuild, Inc.,

EquityBuild Finance, LLC, their affiliates, and the affiliate entities of Defendants Jerome Cohen

and Shaun Cohen as defined in the Order Appointing Receiver (Docket No. 16) and Order granting

the Receiver’s Motion to Amend and Clarify Order Appointing Receiver to Specifically Identify

Additional Known Receivership Defendants (Docket No. 290) (collectively, the “Receivership

Defendants”), and pursuant to the powers vested in him by Order of this Court entered on August

17, 2018, respectfully submits this Fifth Status Report for the quarter ending September 30, 2019.

I.       SUMMARY OF THE OPERATIONS OF THE RECEIVER

         The Receiver, together with his legal counsel, Rachlis Duff Peel & Kaplan, LLC

(“RDPK”), accountants BrookWeiner, LLC (“BrookWeiner”) and Whitley Penn LLP (“Whitley

Penn”), forensic consultant Prometheum Technologies, Inc. (“Prometheum”), and asset

management and real estate brokerage services provider SVN Chicago Commercial, LLC (“SVN”)
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have undertaken, without limitation, the following activities since the filing of his Fourth Status

Report (Docket No. 467, filed July 31, 2019):

        a.      Identification and Preservation of Assets

        Since the filing of his Fourth Status Report, the Receiver continued using reasonable efforts

to determine the nature, location, and value of all property interests of the Receivership

Defendants, including monies, funds, securities, credits, effects, goods, chattels, lands, premises,

leases, claims, rights, and other assets, together with all profits, interest, or other income

attributable thereto, of whatever kind, which the Receivership Defendants owned, possessed, had

a beneficial interest in, or controlled directly or indirectly.

        There are 1161 properties in the Receivership Estate, including 115 properties in Chicago,

one in Houston, Texas, and not counting properties in Naples, Florida and Plano, Texas that the

Defendants have used at times as residences. The Receiver’s primary focus has been and continues

to be the preservation, operation, maintenance, and sale of the real estate properties within the

Receivership Estate.

        As previously stated, the Receiver, in connection with his counsel, asset manager/real

estate broker, and property managers, is working to improve understanding and planning for cash

flow needs for underperforming properties, and controlling expenditures where possible. To that

end, the Receiver and his counsel regularly have communicated with property managers relating

to necessary expenditures for properties requiring approval by the Receiver (and in some cases,

requiring funds from the Receiver), and other operational questions. The Receiver and his retained

professionals have reviewed monthly financial reporting and analyzing the cash position of the




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 During the third quarter of 2019, the Receiver discovered a parcel of vacant land at 431 E. 42nd
Place, Chicago, Illinois, as an additional property within the Receivership Estate.


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Estate. The Receiver has communicated regularly with his real estate broker regarding

prioritization of expenses and repairs on the properties. Consistent with the Liquidation Plan he

filed with the Court (Docket No. 166), the Receiver remains committed, in accordance with the

advice of his retained professionals, the property managers, and asset management consultants,

and subject to availability of necessary funds, to undertake capital improvements that are needed

to address health and safety issues and cure outstanding building code violations or that are

demonstrably capable of yielding increases in occupancy that would drive commensurate increases

in property value.

       The Receiver also has made significant payments for 2018 property taxes. Since the filing

of the fourth status report, the Receiver has paid the following real estate taxes:

       •       6437 S Kenwood ($2,785.28)
       •       3030 E 79th ($5,432.26)
       •       7450 S Luella ($10,000.00)
       •       701 S 5th Avenue ($49,858.05)
       •       7546 S Saginaw Avenue ($3,000.00)
       •       7600 S Kingston Avenue ($6,000.00)
       •       7748-50 S Essex Avenue ($14,000.00)
       •       8326-32 S Ellis Avenue ($9,008.59)
       •       8334-40 S Ellis Avenue ($6,238.89)
       •       8352-58 S Ellis Avenue ($6,044.16)
       •       11117-11119 S Longwood ($19,096.43)
       •       6558 S Vernon Avenue ($816.67)

        The outstanding balance for remaining 2018 property taxes on the portfolio is $507,092.50

as of October 28, 2019. This amount does not include the amount to redeem 2015-18 real estate

taxes for 7026 S. Cornell that were sold at a tax sale; the amount to redeem is approximately

$50,000 and must be paid before December 11, 2019. The Receiver, in connection with the title

company, is working to arrange for payment of these real estate taxes in connection with the

property closing. This amount also does not include real estate taxes for the property in Houston,

Texas. As stated in the fourth status report, the Receiver negotiated a partial payment agreement



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whereby $5,603.98 will be paid monthly for twelve months, beginning on May 31, 2019 with the

last payment to be made on April 30, 2020. (Docket No. 467 at 5) The balance for the Houston

property taxes is approximately $33,623.00. Property taxes were also sold for the property at 431

East 42nd Place (the newly discovered property) and the deadline to redeem is November 9, 2020

in the approximate amount of $4,100.00.

          The Receiver is maintaining casualty and liability insurance for all assets in the portfolio.

The monthly installments for premiums are currently $41,599.90; as properties are sold over time,

the monthly costs will be reduced. The Receiver and his counsel also worked with the insurance

broker to obtain updated records regarding claims history and pending claims, and addressed

certain adjuster inquiries relating to pending claims.

          b.       Property Sales

          On September 13, 2019, the Receiver moved for Court approval to sell the following

properties free and clear of all mortgages, liens, claims, and encumbrances (Docket No. 524):

               •   2909-19 E. 78 Street, Chicago, IL 60649
               •   701 S. 5th Avenue / 414 Walnut, Maywood, IL 60153
               •   3030 E. 79th Street, Chicago, IL 60649
               •   7301-09 S. Stewart Avenue, Chicago, IL 60621
               •   5955 S. Sacramento Avenue, Chicago, IL 60629
               •   6001 S. Sacramento Avenue, Chicago, IL 60629
               •   7834-44 S. Ellis Avenue, Chicago, IL 60649
               •   7026-42 S. Cornell Avenue, Chicago, IL 60649

          The Court granted this motion on October 15, 2019. (Docket No. 545) All of these

properties are expected to close by mid-November 2019.2




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    Any outstanding real estate taxes for these properties will be paid as part of the closings.


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        In July 2019, the Receiver listed the properties below for sale. Notice was published in a

paper of general circulation on July 19, July 26, August 2, and August 9, 2019 for which the call

for offer date was August 14, 2019:

        •   638-40 N. Avers Avenue, Chicago, IL 60624
        •   4520-26 S. Drexel Blvd, Chicago, IL 60653
        •   6751-57 S Merrill Avenue, Chicago, IL 60649
        •   6949-59 S. Merrill Avenue, Chicago, IL 60649
        •   7109-19 S Calumet Avenue, Chicago, IL 60619
        •   7110-16 S Cornell Avenue, Chicago, IL 60649
        •   7450 S Luella Avenue, Chicago, IL 60649
        •   7546 S Saginaw Avenue, Chicago, IL 60649
        •   7600 S Kingston Avenue, Chicago, IL 60649
        •   7625-33 S East End Avenue, Chicago, IL 60649
        •   7635-43 S East End Avenue, Chicago, IL 60649
        •   7656 S Kingston Avenue, Chicago, IL 60649
        •   7748-50 S Essex Avenue, Chicago, IL 60649
        •   7749 S Yates Boulevard, Chicago, IL 60649
        •   7750-58 S Muskegon Avenue, Chicago, IL 60649
        •   8201 S Kingston Avenue, Chicago, IL 60617
        •   8326-58 S Ellis Avenue, Chicago, IL 60619

        As stated previously (Docket No. 467 at 13-15), institutional lenders have filed numerous

motions that object to virtually all activities of the Receivership, including but not limited to the

process for the sale of properties above and credit bid procedures associated with these sales.

These motions have led to a significant number of hearings and appearances before the Court, and

have significantly slowed the process for the sale of the properties. On October 4, 2019, this Court

overruled the numerous pending objections filed by the lenders to the Receiver’s sales process and

adopted Magistrate Judge Kim’s rulings in full.3 (Docket No. 540) Accordingly, the Receiver now




3
 Magistrate Judge Kim issued four separate report and recommendations addressing the lenders’
objections to the Receiver’s sales process dated May 2, 2019 (Docket No. 352), May 22, 2019
(Docket No. 382), July 9, 2019 (Docket No. 447), and August 19, 2019 (Docket No. 483), which
were adopted in full by this Court. (Docket No. 540)


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has all properties above under contract except for 7109 S. Calumet; the property at 638-40 N.

Avers is under contract pursuant to a credit bid.

       On September 13, 2019, the Receiver filed a motion to sell the property at 1102 Bingham

Street, Houston, TX 77007. (Docket No. 522) The Receiver is selling this property through a

private sale and his motion for approval also sought the appointment of three appraisers. On

October 15, 2019, the Court granted the Receiver’s motion, appointing three appraisers, and

allowing the Receiver to sell this property through a private sale. (Docket No. 544) The Receiver

expects to receive completed appraisals within the next 2-3 weeks and to then proceed with listing

the property for sale.

       The Receiver also has two additional properties under contract – 8047-55 South Manistee

Avenue, Chicago, IL 60617 and 7237-43 South Bennett, Chicago, IL 60649 – and anticipates filing

motions for court approval for these properties in the fourth quarter of 2019. The Receiver

anticipates filing additional motions related to the sale of the remaining properties in the Estate,

including but not limited to the single family home portfolio, in the fourth quarter of 2019.

       c.       Code Violations

       A substantial number of properties in the portfolio have code violations that involve

conditions pre-existing the establishment of the Receivership. The Receiver and his counsel

continue to work closely with the City’s corporation counsel for each department (circuit court,

buildings, and streets and sanitation) to address all open building code violations, to address life

and safety issues, and to preserve the respective properties. The property managers have also been

assisting in the defense of numerous administrative and housing court actions alleging building

code violations of widely varying levels of severity filed by the City of Chicago. The Receiver’s

counsel appeared on City of Chicago related matters on nine occasions during the third quarter




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2019. As of September 30, 2019, there were approximately 23 known open code violations

involving City of Chicago matters.

       During this time period, there were nine known City of Chicago municipal housing court

matters. Issues raised in these matters included but are not limited to:

       •         As stated in previous status reports, one porch replacement was completed and
                 passed inspection at 2453 E. 75th. Other violations cited at this property included
                 electrical work, basement clean up, and a requirement that plans and permits be
                 obtained for work done under previous ownership. Following actions of the
                 Receiver, his counsel, and the property manager, this housing court action was
                 dismissed by the court without prejudice on July 18, 2019. The court’s order
                 includes a requirement that the owner must secure as built plans for the entire
                 building by August 1, 2020.

       •         Replacement of a California-style porch at 8107 S. Ellis that was completed and
                 passed inspection during the third quarter of 2019.

       •         Cited violations for the property at 7110 S. Cornell relate to masonry and tuck-point
                 work. The Receiver authorized installation of scaffolding to protect the sidewalk
                 and pedestrians, which remains in place. The Receiver also authorized installation
                 of a new water tank during the third quarter 2019. This property is currently listed
                 for sale.

       •         For the property at 7300 S. Saint Lawrence, the Receiver authorized repair of loose
                 bricks pursuant to a May 2, 2019 housing court order. This property also will
                 require installation of an emergency lighting system.

       As of September 30, 2019, approximately fourteen City of Chicago administrative

proceedings filed by the City of Chicago Buildings Department were known to be pending. During

the third quarter of 2019, the Receiver achieved dismissal of ten administrative proceedings filed

by the City of Chicago Buildings Department, twelve administrative proceedings filed by the

Department of Streets and Sanitation, and one administrative proceeding filed by the Department

of Water Debt.




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       d.      Financial Reporting and Rents Restoration

       The Receiver is providing institutional lenders with monthly accounting reports relating to

rents from each property as required by the February 13, 2019 Order. (Docket No. 223) Monthly

reports with respect to 89 properties have been sent to lenders’ counsel for the periods ended March

31, 2019, April 30, 2019, May 31, 2019, June 30, 2019, July 31, 2019, and August 31, 2019.

Reports for each property include, for each month beginning in August 2018: (a) information about

net operating income based upon reporting from the respective property managers, (b) information

about expenditures made by the Receiver for the benefit of the property (primarily for insurance,

real estate taxes, and funds sent to the property manager to cover expenses not covered by net

operating income from the property), and (c) amounts from net rental income distributed from the

property to the Receiver or to other properties, amounts contributed to the property by the

Receivership and by other properties, and a calculation of the amount (if any) of rentals remaining

to be restored to the property under the February 13, 2019 Order. Each report is sent with a detailed

explanation of the contents of the related report and the calculation of rentals to be restored. A

summary of the information contained in these reports is attached as an exhibit to a motion filed

by the Receiver regarding the use of sales proceeds for rent restoration. (Docket No. 460)

Beginning with the period ending August 31, 2019 (for which reports were sent on October 25,

2019), for properties where no rent restoration is due, the final line item on the report reflects an

amount that has been expended for the benefit of the property from sources other than operating

income on that property.

       The Receiver also continues to analyze sources of funds available for restoration of rents

to affected properties. The total amount to be restored was $767,192.75 as of February 28, 2019,

and had been reduced to $569,591.35 as of August 31, 2019. This figure does not take into account




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rents restored from the property at 6160-62 S. Martin Luther King Drive, Chicago, Illinois4 or any

rent restorations made in September.

        e.     Other Receivership Assets

        As previously reported, the Receiver filed a motion to amend the Order Appointing

Receiver to clarify that a property in Naples, Florida that Defendant Jerome Cohen and his spouse

previously used as a home and a bank account in their names are Receivership Assets. (Docket

No. 265) Cohen challenged the Receiver’s position that the Naples, Florida property is a

Receivership Asset. (Docket Nos. 301 and 356) Following briefing on this motion, Magistrate

Judge Kim held an evidentiary hearing on July 10, 2019. Jerome Cohen did not attend the hearing.

Following Jerome Cohen’s filing as to his failure to attend the hearing, Judge Kim issued an order

setting a further hearing on August 14, 2019, which was ultimately cancelled for Cohen’s failure

to appear. (Docket Nos. 457 & 475) On August 27, 2019, Magistrate Judge Kim issued a report

and recommendation granting the Receiver’s motion and finding that the Naples Property and a

bank account in the name of Jerome Cohen and his spouse account are Receivership Assets.

(Docket No. 492)

        The Receiver continues to evaluate whether certain non-Illinois properties are or should be

considered Receivership Assets and thus subsumed within the Estate. These include properties

that have or may have been purchased with EquityBuild investor funds. Based on evidence

gathered to-date, and as stated in previous status reports, these include without limitation:




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 On July 25, 2019, the Receiver filed a motion seeking to use $54,102.21 in funds from a sold
property (6160 S. King Drive) to restore rent (Docket No. 460), which this Court granted. (Docket
No. 494) On September 16, 2019, a proportionate share of this amount was transferred to the
accounts for each property to which rent restoration was due.


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properties in Plano, TX and Jackson, MS. As stated in previous status reports, Shaun Cohen and

Jerome Cohen each have a life insurance policy. (Docket Nos. 107 at 16, 258 at 14, & 348 at 13)

        f.      Open Litigation

        Since the filing of the Fourth Status Report, this Court lifted the automatic stay of litigation

in the matter captioned Barnes v. EquityBuild, et al., Case No. 19 L 7852, Circuit Court of Cook

County, Law Division. (Docket No. 517, Notification of Docket Entry) This Order provided,

among other things, that the stay was lifted and allowed plaintiff to proceed in a limited fashion

against EquityBuild, Inc. and Paper Street Realty LLC, only to the extent of the amount of

available insurance coverage (if any). As part of the agreement reached, plaintiff, as well her

attorneys and/or representatives, waived her claims against the Receivership Estate for any amount

in excess of applicable insurance coverage and agreed not to file any claim as part of the claims

process in this action. (Id.)

        During the third quarter 2019, the Receiver – working with his counsel and EquityBuild’s

counsel – completed written discovery responses in the matter captioned Watson, et al. v.

EquityBuild, Inc., et al., Case No. 2017 L 1320, Circuit Court of Cook County, Law Division.

        g.      Notice of Appointment of Receiver

        The Receiver continued his efforts to notify all necessary and relevant individuals and

entities of the appointment and to protect and preserve the assets of the Receivership Estate. To

that end, as they are identified, the Receiver continues to deliver notices to individuals or entities

which have been identified as potentially having possession of the property, business, books,

records, or accounts of the Receivership Defendants, or who may have retained, managed, held,

insured, or encumbered, or had otherwise been involved with any of the assets of the Receivership

Defendants.




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       h.      Investor Communications

       The Receiver has provided numerous resources for investors to stay informed. To provide

basic information, the Receiver established a webpage (http://rdaplaw.net/receivership-for-

equitybuild) for investors and other interested parties to obtain information and certain court filings

related to the Receivership estate. A copy of this Status Report will be posted on the Receiver’s

webpage. Following discussion with an investor who raised concern about communication before

Judge Kim, the Receiver, in connection with Prometheum, revised the manner in which pleadings

are organized and presented on the Receivership web site to make it easier for investors and others

to locate pleadings in key areas of interest, including for status reports, property sales, claims

process, and court orders.

       Court filings and orders are also available through PACER, which is an electronic filing

system used for submissions to the Court. Investors and others seeking court filings and orders

can visit www.ilnd.uscourts.gov for information about accessing filings through PACER.

       Beyond those avenues, the Receiver has received and responded to thousands of emails

and voicemails from investors and others.         He and his staff continue to respond to these

communications in as timely and practicable a way as possible, but has asked investors for patience

during this lengthy process because responding to individual inquiries depletes Receivership

assets. The Receiver will continue to work to ensure that information is available and/or otherwise

provided as quickly and completely as practicable.

       i.      Control of Receivership Property and Records

       The Receiver has continued efforts to locate and preserve all EquityBuild property and

records. The Receiver, working with Prometheum, is presently maintaining three platforms of

records and data.




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       j.      Securing Bank and Investment Accounts

       The Receiver notified, contacted, and conferred with the banks and other financial

institutions the Receiver identified as having custody or control of funds, accounts, or other assets

held by, in the name of, or for the benefit of, directly or indirectly, the Receivership Defendants.

The Receiver is still pursuing records from certain institutions.

       k.      Factual Investigation

       The Receiver and his retained professionals have continued to review and analyze the

following: (i) documents and correspondence sent to or received from the EquityBuild principals,

to whose email accounts the Receiver has access; (ii) bank records from EquityBuild and its

affiliate entities; (iii) EquityBuild documents (largely stored in cloud-based and other electronic

media, plus a limited number of hard copy records); (iv) available underlying transaction

documents received to date from former Chicago-based EquityBuild counsel; and (v) files

produced by former EquityBuild counsel, accountants, and employees.

       l.      Tax Issues

       With respect to tax implications relating to the Defendants’ scheme, the Receiver cannot

advise the investors on tax matters and informed investors accordingly by the letter sent on

September 21, 2018. Moreover, the Receiver and his retained professionals do not plan to issue

1099-INT’s. With respect to valuation, loss, or other tax issues, investors and their tax advisors

may wish to seek independent tax advice and consider IRS Rev. Proc. 2009-20 and IRS Rev. Rul.

2009-9. For 2018 tax returns, investors and their tax advisors may wish to consult Page 6 of the

instructions to Form 4684.

       Whitley Penn was retained to prepare income tax returns for EquityBuild and its affiliates

for the tax years 2016 and 2017. Whitley Penn continues to report that its efforts have been




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significantly challenged by EquityBuild’s information and record keeping practices. Whitley Penn

has stated that it is working to obtain documents and information in order to prepare and file what

it presently anticipates as 32 tax returns.5 Twelve entities were previously classified as having an

undetermined tax filing status but based on further information from former EquityBuild

employees, Whitley Penn determined these entities do not have a filing requirement.6 As to the

entities for which a return is being prepared, Whitley Penn has compiled income and expense

reports for a majority of the entities. Whitley Penn states that there are numerous missing items

needed to accurately report balance sheet activity for these entities, and the Receiver is actively

working to attempt to provide that information.

        Additionally, BrookWeiner was retained to perform accounting, tax, and related work

regarding assets of the Receivership Defendants such as the accounting for ongoing business

operations of the Receivership Defendants. BrookWeiner has compiled monthly property

statements and property spreadsheets, worked to close payroll tax accounts with various states,

and assisted with cash flow analysis matters.




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  These thirty two entities are 11318 S Church St Associates, 1401 W 109th Associates, 1516 E
85th Pl Associates, 4750 Indiana LLC, 4755 S Saint Lawrence Associates, 526 W 78th LLC, 6759
S Indiana Associates, 6807 S Indiana Associates, 8809 S Wood Associates, 1700 W Juneway LLC,
4533-37 S Calumet LLC, 5450 S Indiana LLC, 7749-59 S Yates LLC, South Side Development
Fund 1 LLC, South Side Development Fund 4 LLC, South Side Development Fund 5 LLC, SSDF1
Holdco 2 LLC, SSDF2 Holdco 3 LLC, SSDF3 Holdco 1, SSDF4 Holdco 1 LLC, SSDF4 Holdco
2 LLC, SSDF4 Holdco 3 LLC, SSPH Portfolio 1 LLC, EquityBuild Inc., 3400 Newkirk LLC,
South Side Development Fund 3 LLC, SSDF1 Holdco 1 LLC, SSDF2 Holdco 1, SSDF3 Holdco
2 LLC, SSDF5 Holdco 1 LLC, SSPH Holdco 1, and SSDF2 Holdco 2 LLC.
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  These twelve entities are 1422 E 68th LLC, 7107-29 S Bennett LLC, 7823 Essex LLC, EB South
Chicago 1 LLC, EB South Chicago 1 Manager LLC, EB South Chicago 2 LLC, SSDF2 Holdco 2
LLC, SSDF5 Holdco 2 LLC, SSPH Holdco 2 LLC, 1632 Shirley LLC, 8217 Dorchester LLC, and
Hybrid Capital Fund LLC.



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       m.      Accounts Established by Receiver for the Benefit of the Receivership Estate

       The Receiver established custodial accounts at a federally insured financial institution to

hold all cash equivalent Receivership property. The interest-bearing checking account is used by

the Receiver to collect liquid assets of the Estate and to pay the portfolio-related and administrative

expenses. The Receiver also established separate interest-bearing accounts for the purpose of

depositing and holding funds from the sale of real estate encumbered by secured debt until such

time as it becomes appropriate to distribute such funds, upon Court approval, to the various

creditors of the Estate, including but not limited to the defrauded investors or lenders.

II.    RECEIVER’S FUND ACCOUNTING

       The Receiver’s Standardized Fund Accounting Report (“SFAR”) for the Third Quarter

2019 is attached hereto as Exhibit 1. The SFAR sets forth the funds received and disbursed from

the Receivership Estate during this reporting period. As reported in the SFAR, the amount of cash

on hand as of September 30, 2019 was $687,049.96. The information reflected in the SFAR is

based on records and information currently available to the Receiver. The Receiver and his

advisors are continuing with their evaluation and analysis.

III.   RECEIVER’S SCHEDULE OF RECEIPTS AND DISBURSEMENTS

       The Receiver’s Schedule of Receipts and Disbursements (“Schedule”) for the Third

Quarter 2019 is attached hereto as Exhibit 2. The Schedule reflects $1,049,628.05 in receipts and

$362,578.09 in disbursements as of September 30, 2019. Investors, creditors, and other interested

parties are encouraged to review this Schedule for detailed information of disbursements on a

property-by-property basis.




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IV.    RECEIVERSHIP PROPERTY

       All known Receivership Property is identified and described in the Master Asset List

attached hereto as Exhibit 3. The Receiver previously set forth a list of real estate within the

Receivership Estate in his First Status Report. (See Docket No. 107, Exhibit 1)

       The Master Asset List identifies 53 checking accounts in the names of the affiliates and

affiliate entities included as Receivership Defendants, reflecting a total amount transferred to the

Receiver’s account of $105,870.94. (See also Docket No. 348 at 23-24 for additional information

relating to these funds.)

       The Master Asset List does not include assets and potentially recoverable assets for which

the Receiver is still evaluating the value, potential value, and/or ownership interests. The Receiver

is in the process of evaluating certain other types of assets that may be recoverable by the

Receivership Estate, including but not limited to charitable donations, loans, gifts, settlements for

which payment has not yet been received, and other property given to family members, former

employees, and others.

V.     LIQUIDATED AND UNLIQUIDATED CLAIMS HELD BY THE RECEIVERSHIP
       ESTATE

       The Receiver and his attorneys are in the process of analyzing and identifying potential

claims, including, but not limited to, potential fraudulent transfer claims and claims for aiding and

abetting the fraud of the Receivership Defendants.

VI.    CREDITORS AND CLAIMS AGAINST THE RECEIVERSHIP ESTATE

       During the second quarter of 2019, Judge Kim granted the Receiver’s motion for entry of

an order approving a claims process and establishing a claims bar date of July 1, 2019. (Docket

No. 349) The Receiver and his retained professionals have been analyzing and working with the

more than 2,000 claims submissions in connection with filing status reports on claims on August



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1, 2019 (Docket No. 468), August 15, 2019 (Docket No. 477), and October 15, 2019 (Docket No.

548) all of which have been posted to the Receiver’s webpage.

        As previously reported, a total of 1,892 claims were submitted through the claims portal7

and an additional 150 claims submissions were received by either mail or email on or before July

1, 2019. (Docket No. 468 at 4) The Receiver also granted extensions of the bar date to ten

claimants and granted requests from certain institutional lenders to submit complete

documentation after the July 1, 2019 bar date. (Docket No. 468 at 4) Moreover, during the third

quarter of 2019, the Receiver identified and provided notice of the claims process to 22 additional

potential claimants and granted them 40 calendar days submit a claim, with the latest such date

being November 20, 2019. (Docket No. 548; see also Docket No. 349)

        Based on a preliminary analysis of the proof of claim forms, a number of properties

presently believed to be within the Receivership Estate have secured claims asserted by both

investor lenders and institutional lenders (in addition to many against which unsecured claims are

also asserted), and as such, resolution of issues of priority as well as other claims related issues

will be necessary prior to distribution.

        Additionally, based on a preliminary review, there appear to be sixteen properties that are

either not a part of a claim with a cross-collateralized loan or may be isolated in some fashion

(1700 Juneway, 4533 S Calumet, 5001 S Drexel, 5450 S Indiana, 7749 S Yates, 7109 S Calumet,

4520 S Drexel, 4611 S Drexel, 1131 E 79th, 6217 S Dorchester, 6250 S Mozart, 638 N Avers,

7024 S Paxton, 7255 S Euclid, 6160 S King Drive, 6949 S Merrill) with respect to which claims

have been submitted by both investor lenders and institutional lenders. (Docket No. 477) There



7
  During the fourth quarter of 2019, the Receiver discovered an additional 35 possible claims
submissions that were submitted to the portal but were not included in the Receiver’s preliminary
review of claims forms.


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are 71 properties in the Receivership Estate for which claims have been submitted that are the

subject of cross-collateralization, including many of which include investor claims as well. There

are two properties (6751 S Merrill and 7110 S Cornell) where the only purportedly secured claim

asserted against the properties were by institutional lenders. Based on the Receiver’s preliminary

analysis, there appear to be thirteen properties where only EBF affiliate debt was asserted against

each property. (Docket No. 477)

       In connection with the third status report, the Receiver created Exhibit 1 which

preliminarily identified on a property by property basis the following: (i) claimant name, (ii) total

amount claimed, (iii) claimant category, and (iv) the amount loan or invested in the particular

property (where it could be determined from the face of the claim form). The Receiver has not yet

competed review of documents submitted with each claim form in creating the expanded Exhibit

1 and thus, is not making any conclusions or recommendations to the Court as to the certainty,

eligibility, or priority of any claim at this time. (Docket No. 548 and Exhibit 1 thereto)

       The Receiver also received claims that fall outside the purpose of Exhibit 1 including

without limitation the following: (i) claims submitted that identify properties that appear to have

been sold or otherwise disposed of prior to the establishment of the Receivership; (ii) claims that

have no reference to properties, including without limitation claims submitted against funds or

entities (e.g., South Side Development Fund, Chicago Capital Fund, etc.); and (iii) claims where a

property address was unspecified or otherwise not possible to determine from the face of the claim

form. (Docked No. 548 at 5-6 and Exhibit 1 thereto)

       As previously indicated, the Receiver continues to seek to implement a process that is fair,

efficient, comprehensive, and provides finality and certainty for all claimants. As stated earlier,

the Receiver has submitted three separate status reports in regards to claims. (See Docket Nos.




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486, 477, & 548) The Receiver will continue with the claims process with direction and approval

of the process from the Court. For at least one of the properties, the Receiver foresees filing a

report and recommendation in the next 60 days in which he anticipates reporting as to priority and

recommending a plan for distribution of sales proceeds.

       The Receiver also intends to ascertain, evaluate, determine, and/or recommend (and

identify additional information that may be necessary with respect to) without limitation, the

following as expeditiously as possible:

       i.      whether any claims ought to be rejected for failure to comply with the Court-

               approved procedures and claim form;

       ii.     the total amount of each claim, and its identifiable components;

       iii.    whether there are common identifiable components of submitted claims that the

               Receiver contests; and

       iv.     the total number of claimants (after all claims form have been submitted and the

               Receiver has reviewed and accounted for any duplicative submissions).

       Additionally, the Receiver is evaluating potential tax implications relating to entities in the

Receivership Estate, the disposition of assets (including but not limited to the sale of real estate),

and the claims process. (Docket No. 477 at 9)




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VII.    PROJECTED FUTURE EXPENSES8

        The Receiver also plans to file a fee application for the first quarter of 2019 this week and

the second quarter of 2019 by mid-November. The Receiver presently anticipates professional

fees and expenses for these quarters in the following approximate amounts:9

           •   $106,392.00 in professional fees for the Receiver during the 1st quarter of 2019;

           •   $418,995.37 in professional fees and expenses for the Receiver’s counsel, RDPK,

               during the 1st quarter of 2019;

           •   $109,771.00 in professional fees for the Receiver during the 2nd quarter of 2019;

           •   $401,023.00 in professional fees and $4,672.76 in expenses for the Receiver’s

               counsel, RDPK, during the 2nd quarter of 2019;

           •   Professional fees of $21,102.00 for BrookWeiner during the 1st quarter of 2019;

           •   Professional fees of $21,611.00 for BrookWeiner during the 2nd quarter of 2019;

           •   Professional fees of $1,599.67 for Prometheum during the 1st quarter of 2019; and

           •   Professional fees of and $797.50 for Prometheum during the 2nd quarter of 2019.

        The Receiver also plans to file a fee application for the third quarter of 2019 in December,

after which all fee applications will be up to date.




8
  The Receiver intends on using funds from the Receiver’s operating account for payment of
professional fees and expenses. The Receiver expects to close on three unencumbered properties
in November 2019 and from those sales, presently anticipates approximately $1.9M will be
transferred to the Receiver’s operating account.
9
  The approximate professional fees may differ from amounts that will be set forth once the
Receiver’s fee application is prepared. However, the Receiver believes the foregoing amounts are
reasonable approximations at this time.


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 VIII. CONCLUSION

           At this time, the Receiver recommends the continuation of the Receivership for at least the

following reasons:

           1.     Preservation, maintenance, and operation of the assets in the Receivership Estate

 including but not limited to the real estate assets;

           2.     The continued investigation and analysis of assets and potentially recoverable

 assets for which the Receiver is still evaluating the value, potential value, and/or ownership

 interests;

           3.     The continued efforts of the Receiver to liquidate various assets of the Receivership

 Estate;

           4.     The continued investigation and analysis of the potential claims against the

 Receivership Estate, including, but not limited to, the claims and records of investors;

           5.     The continued investigation, analysis, and recovery of potential fraudulent transfer

 claims and claims against third parties relating to the Receivership Estate;

           6.     The continued analysis and formulation, in consultation with the SEC, of a just and

 fair distribution plan for the creditors of the Receivership Estate, and the subsequent notice to

 investors and potential claimants, and submission of a motion for Court approval, of such plan;

 and

           7.     The carrying out of any other legal and/or appointed duties of the Receiver as

 identified in the August 17, 2018, Order Appointing Receiver, or as the Court deems necessary.




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Dated: October 31, 2019                     Kevin B. Duff, Receiver

                                     By:    /s/    Michael Rachlis

                                            Michael Rachlis (mrachlis@rdaplaw.net)
                                            Nicole Mirjanich (nm@rdaplaw.net)
                                            Rachlis Duff & Peel, LLC
                                            542 South Dearborn Street, Suite 900
                                            Chicago, IL 60605
                                            Phone (312) 733-3950; Fax (312) 733-3952




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                                CERTIFICATE OF SERVICE

       I hereby certify that I provided service of the foregoing Receiver’s Fifth Status Report, via

ECF filing, to all counsel of record on October 31, 2019.

       I further certify I caused to be served the Defendant Jerome Cohen via e-mail:

       Jerome Cohen
       1050 8th Avenue N
       Naples, FL 34102
       jerryc@reagan.com
       Defendant



                                                     /s/ Michael Rachlis

                                                     Michael Rachlis
                                                     Rachlis Duff & Peel, LLC
                                                     542 South Dearborn Street, Suite 900
                                                     Chicago, IL 60605
                                                     Phone (312) 733-3950
                                                     Fax (312) 733-3952
                                                     mrachlis@rdaplaw.net




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                       Exhibit 1
                                             Exhibit 10/31/19
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                    STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. ‐ Cash Basis
                                   Receivership; Civil Court Docket No. 18‐cv‐05587
                                      Reporting Period 7/1/2019 to 9/30/2019

Fund Accounting (See Instructions):
                                                                             Detail         Subtotal       Grand Total
Line 1        Beginning Balance (As of 7/1/2019):                         $1,023,577.34                    $1,023,577.34
              Increases in Fund Balance:
Line 2        Business Income
Line 3        Cash and unliquidated assets
Line 4        Interest/Dividend Income                                        $1,066.59
Line 5        Business Asset Liquidation
Line 6        Personal Asset Liquidation
Line 7        Net Income from Properties                                    $24,984.12
Line 8        Miscellaneous ‐ Other
                Total Funds Available (Line 1‐8):                                                          $1,049,628.05
              Decrease in Fund Balance:
Line 9      Disbursements to Investors
Line 10     Disbursements for receivership operations
   Line 10a Disbursements to receiver or Other Profesionals
   Line 10b Business Asset Expenses¹                                       ($361,114.06)
   Line 10c Personal Asset Expenses
   Line 10d Investment Expenses
   Line 10e Third‐Party Litigation Expenses
                1. Attorney Fees
                2. Litigation Expenses
              Total Third‐Party Litigation Expenses                                               $0.00
   Line 10f Tax Administrator Fees and Bonds
  Line 10g Federal and State Tax Payments
              Total Disbursements for Receivership Operations                              ($361,114.06)
Line 11     Disbursements for Distribution Expenses Paid by the Fund:
   Line 11a    Distribution Plan Development Expenses:
                 1. Fees:
                       Fund Administrator……………………………………………………….….
                       Independent Distribution Consultant (IDC)…………………
                       Distribution Agent……………………….……………………………………
                       Consultants………………………………………………….…………………….
                       Legal Advisers…………………………………………………………….……..
                       Tax Advisers……………………………………………………………………….
                  2. Administrative Expenses
                  3. Miscellaneous
               Total Plan Development Expenses                                                    $0.00
  Line 11b       Distribution Plan Implementation Expenses:
                   1. Fees:
                       Fund Administrator…………..…………….…………………………
                       IDC……………………………………………………………………………..
                                             Exhibit 10/31/19
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                 STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. ‐ Cash Basis
                                Receivership; Civil Court Docket No. 18‐cv‐05587
                                   Reporting Period 7/1/2019 to 9/30/2019

                    Distribution Agent……………………….………………..…..………
                    Consultants………………………………………………….…………….
                    Legal Advisers………………………………………….………………………..
                    Tax Advisers……………………………………………………..………………..
                 2. Administrative Expenses
                 3. Investor identification
                    Notice/Publishing Approved Plan………………………………….
                    Claimant Identification……………………………………………………
                    Claims Processing……………………………………………………………..
                    Web Site Maintenance/Call Center……………………………….
                 4. Fund Adminstrator Bond
                 5. Miscellaneous
                 6. Federal Account for Investor Restitution
                   (FAIR) reporting Expenses
                 Total Plan Implementation Expenses
                 Total Disbursement for Distribution Expenses Paid by the Fund                 $0.00
Line 12     Disbursement to Court/Other:²                                    ($1,464.03)
   Line 12a     Investment Expenses/Court Registry Investment
                System (CRIS) Fees
   Line 12b     Federal Tax Payments
              Total Disbursement to Court/Others:
              Total Funds Disbursed (Lines 1‐9):                                           ($1,464.03)   ($144,679.61)
Line 13         Ending Balance (As of 9/30/2019):                                                        $687,049.96
Line 14     Ending Balance of Fund ‐ Net Assets:
   Line 14a    Cash & Cash Equivalents                                                                   $687,049.06
   Line 14b    Investments (unliquidated Huber/Hubadex investments)
   Line 14c    Other Assets or uncleared Funds
               Total Ending Balance of Fund ‐ Net Assets                                                 $687,049.06


           ¹ Insurance ($126,269.70); property taxes ($22,430.00);
           property repairs & other expenses ($49,867.80); property
           utilities ($6,191.91); property management expenses
           ($135,250.09); property fines ($240.00); Naples mortgage
           ($20,864.56).
           ² Expenses incurred in connection with scheduled video
           teleconference deposition of Patricia Cohen: $360.00, service
           of subpoena; $90.00, court reporter fees (Chicago); $439.10,
           court reporter & videographer (Naples); $574.93, conference
           room services (Naples).
                                    Exhibit 10/31/19
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      STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. ‐ Cash Basis
                     Receivership; Civil Court Docket No. 18‐cv‐05587
                        Reporting Period 7/1/2019 to 9/30/2019

                                          Receiver:
                                                                        /s/ Kevin B. Duff
                                                          (Signature)

                                                      Kevin B. Duff, Receiver EquityBuild, Inc., et al.
                                                          (Printed Name)

                                              Date:                     October 28, 2019
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                       Exhibit 2
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                      EQUITYBUILD RECEIVERSHIP ESTATE ACCOUNT
                                     Third Quarter 2019
                           Schedule of Receipts and Disbursements


 Beginning Balance
 7/1/19                                                                                  $1,023,577.34

 RECEIPTS

                                     Received From                    Amount
                                     Interest earned on Receiver's
                         7/31/2019   account                                   $409.60
                                     Interest earned on Receiver's
                         8/31/2019   account                                   $383.49
                                     From 6160 King Drive acct, for
                         9/15/2019   restoration of Receiver's              $5,014.79
                                     WPD - post-closing balance on
                         9/24/2019   7502 Eggleston                        $13,139.90
                                     WPD - post-closing balance on
                         9/24/2019   7549 Essex                             $6,829.43
                                     Interest earned on Receiver's
                         9/30/2019   account                                   $273.50



                                     TOTAL RECEIPTS:                                     $1,049,628.05

 DISBURSEMENTS

                                     Paid To                           Amount
                                     Paper Street (638 N. Avers water
      Wire Transfer       7/1/2019   bill)                                 ($2,075.14)
                                     Paper Street (installment on past
      Wire Transfer       7/1/2019   due water bills)                        ($952.66)
                                     First Funding (2d installment on
                                     premium financing for general
      Wire Transfer       7/1/2019   liability & umbrella insurance)      ($21,735.26)
                                     WPD (property expenses: 7749 S
      Wire Transfer      7/15/2019   Yates)                               ($20,000.00)
                                     Paper Street (8107 S Ellis porch
                                     repairs ($27,500); 638 N Avers
      Wire Transfer      7/15/2019   door repair ($1,152))                ($28,652.00)
                                     LaSalle Process Servers, LP (Inv
                                     #60006, service of subpoena on
              1092       7/23/2019   P Cohen)                                ($360.00)
                                     Precise Reporting Service (Inv
                                     #16444, video teleconference
                                     services in Chicago for P Cohen
              1093       7/23/2019   deposition)                              ($90.00)
                                     ARCEO (Inv #25603382,
                                     conference services in Naples, FL
              1094       7/23/2019   for P Cohen deposition)                 ($574.93)
                                     Brickell Key Court Reporting (Inv
                                     #002345, attendance of court
                                     reporter & videographer in
                                     Naples, FL for P Cohen
              1095       7/23/2019   deposition)                             ($439.10)
                                     To 1102 Bingham account for
                                     installment payments on
      Wire Transfer      7/23/2019   delinquent property taxes            ($11,215.00)


                                               1
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                      EQUITYBUILD RECEIVERSHIP ESTATE ACCOUNT
                                     Third Quarter 2019
                           Schedule of Receipts and Disbursements

 DISBURSEMENTS
                                     First Funding (2d installment on
                                     premium financing for property
      Wire Transfer      7/25/2019   liability insurance)                 ($19,864.64)
                                     Paper Street (property
      Wire Transfer       8/1/2019   management expenses¹)                ($22,023.01)
                                     Paper Street (installment on past
      Wire Transfer       8/6/2019   due water bills)                       ($952.66)
                                     First Funding (3d installment on
                                     premium financing for general
      Wire Transfer       8/6/2019   liability & umbrella insurance)      ($21,735.26)
                                     WPD (reversal of entries
                                     incorrectly recorded to 6217 S
      Wire Transfer       8/8/2019   Dorchester)                           ($9,808.68)
                                     Rosenthal Bros (premium
                                     increases on 7255 S Euclid
      Wire Transfer      8/14/2019   ($744) & 4611 S Drexel ($726))        ($1,470.00)
                                     City of Chicago, Dept of Streets &
                                     Sanitation (code violation at 5618
              1096       8/14/2019   S MLK)                                 ($240.00)
                                     First Funding (3d installment on
                                     premium financing for property
      Wire Transfer      8/23/2019   liability insurance)                 ($19,864.64)
                                     WPD (July 2019 property
      Wire Transfer      8/23/2019   management expenses²)                ($40,000.00)
                                     First Bank Mortgage (mortgage
              1097       8/26/2019   arrears on Naples property)           ($6,954.16)

                                   First Bank Mortgage (May-August
                                   2019 mortgage payments & fees
              1098       8/29/2019 on Naples property)                     ($6,956.24)
                                   Paper Street (property
      Wire Transfer       9/4/2019 management expenses³)                  ($43,418.40)
                                   First Bank Mortgage (Sept 2019
              1099        9/4/2019 payment on Naples mortgage)             ($3,477.08)

                                   First Funding (4th installment on
                                   premium financing for general
      Wire Transfer       9/5/2019 liability & umbrella insurance)        ($21,735.26)

                                   Paper Street (payment on
      Wire Transfer       9/6/2019 installments for past due utilities)     ($952.66)
                                   Paper Street (installment
                                   payment on security door for
      Wire Transfer       9/9/2019 7237 Bennett)                           ($1,765.80)
                                   Paper Street (renovation at 2909
      Wire Transfer      9/16/2019 E 78th Street)                         ($14,950.00)
                                   Paper Street (boiler repair at
      Wire Transfer      9/19/2019 7201 S Constance)                       ($4,500.00)
                                   First Bank Mortgage (Oct 2019
              1100       9/23/2019 payment on Naples mortgage)             ($3,477.08)
                                   First Funding (4th installment on
                                   premium financing for property
      Wire Transfer      9/23/2019 liability insurance)                   ($19,864.64)
                                   1102 Bingham account
                                   (installment payments on real
    Funds Transfer       9/23/2019 estate tax delinquency)                ($11,215.00)


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                                 EQUITYBUILD RECEIVERSHIP ESTATE ACCOUNT
                                                Third Quarter 2019
                                      Schedule of Receipts and Disbursements

 DISBURSEMENTS

                                                Paper Street (past due utilities at
                                                7201 S Constance ($1,195.10)
          Wire Transfer               9/24/2019 and 7760 S Coles ($63.69))            ($1,258.79)



                                                 TOTAL DISBURSEMENTS:                               ($362,578.09)

                                                 Grand Total Cash on Hand at
                                                 9/30/19:                                           $687,049.96



 ¹ 7201 S Dorchester - $2,961.65;
     7760 S Coles - $1,686.11;
     7546 S Saginaw - $5,463.32;
     8000 S Justine - $4,111.40;
     7656 S Kingston - $7,045.00;
     5955 S Sacramento - $1,025.53;
     Total: $22,023.01




 ² 7110 S Cornell - $10,000.00;
   7750 S Muskegon - $20,000.00;
   7749 S Yates - $10,000.00



 ³   7656 S Kingston - $5,422.98;
     5618 MLK Drive - $7,497.07;
     7760 S Coles - $1,910.49;
     8000 S Justine - $4,660.72;
     8214 S Ingleside - $3,161.79;
     5955 S Sacramento - $2,571.53;
     6001 S Sacramento - $2,193.87;
     7026 S Cornell - $1,979.95;
     Total: $43,418.40




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                       Exhibit 3
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                                                         Exhibit 3

                                                    Master Asset List
                                        Receiver’s Account (as of 9/30/2019)
Institution                                Account Information               Amount
AXOS Fiduciary Services                    Checking                                                               $687,049.96

                                       Receivership Defendants’ Accounts
Institution          Account Information                           Current Value¹ Amount Transferred
                                                                                  to Receiver’s
                                                                                  Account
Wells Fargo          Checking (53 accounts in the names of the        $16,321.68³          $105,870.94⁴
                     affiliates and affiliate entities included as
                     Receivership Defendants)²
Wells Fargo          Checking (account in the names of Shaun                                $23,065.43⁵
                     Cohen and spouse)
Byline Bank          Checking (2 accounts in names of                  $21,828.73
                     Receivership Defendants)
                                                                                                                        Total:
                                                                                                                  $128,936.37

                                EquityBuild Real Estate Portfolio (in Illinois)
For a list of the properties within the EquityBuild portfolio identified by property address, alternative
address (where appropriate), number of units, and owner, see Exhibit 1 to the Receiver’s First Status
Report, Docket No. 107.

                                            Other, Non-Illinois Real Estate
Description                                                     Appraised Market Value
1102 Bingham Street                                                                  Approximately $1.2M⁶
Houston, TX 77077

Single family home in Naples, Florida                                                                        ±$1,400,000.00⁷

                                                                         Approximate mortgage amount: $500,000.00
                                                                        Approximate value less mortgage: $900,000.00

Single family home in Plano, Texas                                                                              ±$450,000.00

                                                                          Approximate mortgage amount: $400,000.00
                                                                         Approximate value less mortgage: $50,000.00


     ¹ The Current Value reflects the approximate balance in the frozen bank accounts.
     ² The Receiver is investigating whether each of these accounts is properly included within the Receivership Estate.
     ³ $16,321.68 reflects the value as of 2/26/19, the date of the last update provided by Wells Fargo, despite the
     Receiver’s continued efforts to gather further information on the frozen accounts.
     ⁴ This amount was transferred to the Receiver’s Account as of 8/27/18, and is included as part of the total balance of
     the Receiver’s Account as of 3/31/19.
     ⁵ This amount was transferred to the Receiver’s account as of 11/8/18, and is included as part of the total balance of
     the Receiver’s Account as of 3/31/19.
     ⁶ Source: Harris County Texas 2018 appraised value.
     ⁷ Source: www.zillow.com
